     Case 3:18-cv-00329-GPC-JLB Document 10 Filed 05/01/18 PageID.158 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    CRAIG CUNNINGHAM,                                  Case No.: 18cv329-GPC(JLB)
12                                      Plaintiff,
                                                         ORDER DENYING DEFENDANT’S
13    v.                                                 MOTION TO DISMISS AND STAY
                                                         AS MOOT
14    STUDENT LOAN ADVOCACY GROUP
      and DOES 1-10,
15                                                       [Dkt. No. 6.]
                                      Defendant.
16
17
           Defendant filed a motion to dismiss and stay action pending disposition of
18
     vexatious litigation designation. (Dkt. No. 6.) On April 30, 2018, Plaintiff filed an
19
     amended complaint adding additional defendants. Accordingly, the Court DENIES
20
     Defendant’s motion to dismiss and stay action as moot subject to refiling once all
21
     defendants have been served. The hearing date set for June 22, 2018 shall be vacated.
22
           IT IS SO ORDERED.
23
     Dated: May 1, 2018
24
25
26
27
28

                                                     1
                                                                                  18cv329-GPC(JLB)
